Case 9:18-cr-80109-RLR Document 7 Entered on FLSD Docket 05/10/2018 Page 1 of 1




                          UNITED STATES DISTRICT CO URT
                          SOUTHERN DISTRICT O F FLO RIDA


                                  Case No.18-821I-W M


                                                                    FILED by             D.C.
 UNITED STATE O F AM ERICA,                                                      !
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                            Plaintiff,
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 VS.                                                                      .




 JO HN JO SEPH O 'G M DY,

                            Defendant.
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                                  UNSEALING O RDER

         THIS CAUSE cam e before this Courton the Governm ent'
                                                             s M otion to Unsealthe

 Crim inalCom plaint in this m atter.The Coud being fully advised in the prem ises, it is

 hereby

         O RDERED AND A DJUDG ED thatthe Governm ent's Motion is hereby G RANTED,

 and the Clerk ofthe Courtshallunsealthe Crim inalCom plaint,Affidavitfiled in suppod

 thereof,and W arrant,in the above-captioned m atter.

         DO NE AND O RDERED atW est Palm Beach, Fl
                                                 orida,this           10 dayofMay,
                                         4


 2018.



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                                             HO N.W ILLIAM M AT HEW M AN
                                             UNITED STATES MAG ISTRATE JUDG E

 cc:AUSA John C.McM illan (W PB)
